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IN THE UNITED STATES DISTRICT COURT h %’ .._,.
FOR THE WESTERN DISTRICT OF TENNESSEE §§HA?§? £H;f’p
WESTERN DIVISION ~ _. 52

 

   

UNITED STATES OF AMERICA

Plaintiff,
V. CR. NO. O4-20173fMa
JERRY SIMS,

Defendant.

 

SECOND AMENDED ORDER TO SURRENDER

 

The defendant, Jerry Sims, having been Sentenced in the above
ease to the CuStody of the Bureau of Prieone and having been granted
leave by the Court to report to the designated facility, IS HEREBY
ORDERED to eurrender to the Bureau of Prieone by reporting to Federal
Correctional Institution-Forrest City, P.O. Box 7000, Forrest City,
Arkansas 72335, no later than 2:00 p.m. on Tuesday, May 31, 2005.

IT IS FURTHER ORDERED that upon receipt of a Copy of this Order
the defendant ehall report immediately to the Office of the Clerk,
Federal Otfice Building, 167 N. Main Street, Room 242, Memphie,
Tenneeeee 38l03 to acknowledge by eignature receipt of a Copy of
thie Order and that the defendant will report as ordered to the
facility named above.

/IFL

ENTERED this the day of May, 2005.

l¢/M~

SAMUEL H. MAYS, JR.
UNITED STA'I‘ES DISTRICT JUDGE

This document entered on the docket sheet in comp£iance

with me 55 and/m 32(@) aach on 5 '[ b ~OS: @

 

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ACKNOWLEDGMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

Clerk/Deputy Clerk Defendant

UNITD sATES DISTRIC COURT - WEERN DISITRCT oF TENNESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 55 in
case 2:04-CR-20173 Was distributed by faX, mail, or direct printing on
May ]6, 2005 to the parties listed.

 

 

Valeria Rae Oliver

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200 Jefferson Ave.

Ste. 200

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Honorable Samuel Mays
US DISTRICT COURT

